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 8                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
 9                                  SAN FRANCISCO DIVISION

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      CASEY ROBERTS, Individually and on                 Case No. 3:19-cv-03422-SI
11    Behalf of All Others Similarly Situated,
                                                         [PROPOSED] ORDER GRANTING
12                          Plaintiff,                   MOTION OF KYLE J. KRAUSENECK
                                                         FOR APPOINTMENT AS LEAD
13           v.                                          PLAINTIFF AND APPROVAL OF
                                                         SELECTION OF COUNSEL
14    ZUORA, INC., TIEN TZUO, and TYLER
      SLOAT,                                             Hearing Date: October 4, 2019
15                                                       Time: 10:00 a.m.
                            Defendants.                  Judge: The Honorable Susan Illston
16                                                       Courtroom: 1, 17th Floor

17                                                       ORAL ARGUMENT REQUESTED

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     CASE NO. 3:19-CV-03422-SI
     [PROPOSED] ORDER GRANTING MOTION OF KYLE J. KRAUSENECK FOR APPOINTMENT AS LEAD PLAINTIFF AND
     APPROVAL OF SELECTION OF COUNSEL
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 1           Having considered the Motion of Kyle J. Krauseneck for Appointment as Lead Plaintiff

 2   and Approval of Selection of Counsel (the “Motion”), and for good cause appearing therefore,

 3           IT IS HEREBY ORDERED THAT:

 4           1.      The Motion is granted.

 5           2.      Pursuant to 15 U.S.C. § 78u-4(a)(3)(B), Kyle J. Krauseneck is appointed to serve

 6   as Lead Plaintiff in the above-captioned action and any subsequently filed or transferred actions

 7   that relate to the above-captioned action.

 8           3.      Pursuant to 15 U.S.C. § 78u-4(a)(3)(B)(v), Kyle J. Krauseneck’s selection of

 9   Kessler Topaz Meltzer & Check, LLP as Lead Counsel for the class is approved. Lead Counsel

10   shall have the authority to speak for all plaintiffs and class members in all matters regarding the

11   litigation, including, but not limited to, pre-trial proceedings, motion practice, trial, and settlement.

12   Additionally, Lead Counsel shall have the following responsibilities:

13                   (a)     to brief and argue motions;

14                   (b)     to initiate and conduct discovery, including, but not limited

15                           to, coordination of discovery with Defendants’ counsel, and

16                           the preparation of written interrogatories, requests for

17                           admissions, and requests for production of documents;

18                   (c)     to direct and coordinate the examination of witnesses in
19                           depositions;

20                   (d)     to act as spokesperson at pretrial conferences;

21                   (e)     to initiate and conduct any settlement negotiations with

22                           Defendants’ counsel;

23                   (f)     to be the contact among plaintiffs’ counsel and to direct and

24                           coordinate the activities of plaintiffs’ counsel;

25                   (g)     to consult with and employ experts; and

26                   (h)     to perform such other duties as may be expressly authorized
27                           by further order of this Court.

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 1          4.      No motions, request for discovery, or other pretrial proceedings shall be initiated

 2   or filed by any plaintiff without the approval of Lead Counsel.

 3   IT IS SO ORDERED.

 4   DATED:______________________                         _______________________________
                                                          THE HONORABLE SUSAN ILLSTON
 5                                                        UNITED STATES DISTRICT JUDGE
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